Name  & Address:
   Case   2:13-cv-00779-DOC-JCG Document 108 Filed 02/17/14 Page 1 of 1 Page ID #:3296
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                                     UNITED STATES DISTRICT COURT
                                    CENTRAL DISTRICT OF CALIFORNIA
 United States of America,                                       CASE NUMBER:

                                                                            2:13-cv-00779-DOC (JCGx)
                                              PLAINTIFF(S)
                          v.
 McGraw-Hill Companies, Inc., and Standard & Poor's
 Financial Services, LLC,                                                NOTICE OF MANUAL FILING
                                            DEFENDANT(S).

PLEASE TAKE NOTICE:
          Pursuant to Local Rule 5-4.2, the following document(s) or item(s) are exempt from electronic filing,
and will therefore be manually filed (LIST DOCUMENTS):

(1) [In Camera And Under Seal] United States Of America’s Ex Parte Application To File Under Seal, Ex
Parte, In Camera Declaration of Michael S. Blume In Camera And Under Seal;
(2) [Proposed] Order Re: United States Of America’s Ex Parte Application To File Under Seal, Ex Parte, In
Camera Declaration of Michael S. Blume In Camera And Under Seal;
(3) Under Seal, Ex Parte, In Camera Declaration Of Michael S. Blume In Support Of United States’
Opposition To Defendants’ Motion To Compel Discovery And Cross-Motion For Protective Order And To
Strike Defense.

          Reason:
          ✔    Under Seal and/or In Camera
                Items not conducive to e-filing (i.e., videotapes, CDROM, large graphic charts)
                Electronic versions are not available to filer
                Per Court order dated
                Manual Filing required ( reason ):




February 17, 2014                                                  //s// AUSA Anoiel Khorshid
Date                                                               Attorney Name
                                                                   United States of America
                                                                   Party Represented


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G-92 (01/14)                                    NOTICE OF MANUAL FILING
